Case 9:24-cr-80116-AMC Document 67 Entered on FLSD Docket 11/06/2024 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 24-80116-CR-CANNON/McCabe


  UNITED STATES OF AMERICA

  vs.

  RYAN WESLEY ROUTH,

          Defendant.
  __________________________________/

              PARTIES’ STATUS REPORT REGARDING PROTECTIVE ORDER

           In its paperless Order regarding the Government’s original proposed protective order

  (ECF64), the Court directed the parties to confer via video no later than October 21, 2024, and

  subsequently to file a joint status report describing any progress toward an agreed-upon proposed

  order.   The parties conferred on October 30, 2024, and since then have continued to seek

  agreement on a proposed order. After discussions among counsel, and discussions between

  defense counsel and the Defendant, the parties have agreed to a proposed Order for the Court’s

  consideration that, we believe, fairly balances the competing interests and this Court’s concerns.

  Accordingly, the parties respectfully request that the Court enter the proposed Order attached to

  this status report.

           Defense counsel has reviewed and agrees to this status report and joins in asking the Court

  to enter the attached Order.

                                                Respectfully submitted,

                                                MARKENZY LAPOINTE
                                                UNITED STATES ATTORNEY

                                         By:    /s/ John Shipley
                                                John C. Shipley
Case 9:24-cr-80116-AMC Document 67 Entered on FLSD Docket 11/06/2024 Page 2 of 3




                                     Florida Bar No. 69670
                                     Christopher B. Browne
                                     Florida Bar No. 91337
                                     Mark Dispoto
                                     Court Id. Number A5501143
                                     Assistant United States Attorneys

                                     U.S. Attorney’s Office
                                     Southern District of Florida
                                     99 Northeast 4th Street, 8th Floor
                                     Miami, Florida 33132-2111
                                     Telephone: (305) 961-9111
                                     E-mail: John.Shipley@usdoj.gov

                                     MATTHEW G. OLSEN
                                     ASSISTANT ATTORNEY GENERAL

                               By:   /s/ David C. Smith
                                     David C. Smith, Trial Attorney
                                     Court ID No. A5503278
                                     Department of Justice, National Security Division
                                     950 Pennsylvania Avenue, NW
                                     Washington, DC 20530
                                     Telephone: (202) 514-0849
                                     Email: David.Smith5@usdoj.gov




                                        2
Case 9:24-cr-80116-AMC Document 67 Entered on FLSD Docket 11/06/2024 Page 3 of 3




                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I electronically filed the foregoing document with the Clerk

  of the Court using CM/ECF on November 6, 2024.

                                                   /s/ John C. Shipley
                                                   Assistant United States Attorney




                                             3
